

People v Jacobowitz (2025 NY Slip Op 00027)





People v Jacobowitz


2025 NY Slip Op 00027


Decided on January 02, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 02, 2025

Before: Kern, J.P., Kennedy, Gesmer, Higgitt, Michael, JJ. 


Ind. No. 1322/20 Appeal No. 3373 Case No. 2021-03602 

[*1]The People of The State of New York, Respondent, 
vEden Jacobowitz, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Brent E. Yarnell of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Statsinger, Steven M., J.), rendered September 02, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 2, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








